Case 3:19-cr-01850-AJB Document 21 Filed 05/30/19 PagelD.66 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA |

UNITED STATES OF AMERICA ) i MON penn
Vv. ) Case No: OP SLAP on
JOHN T. EARNEST, ) er so- nase, EV at

Gee

APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus

  
 

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(v) Ad Prosequendum () Ad Testifichndum 8 fa tinsel

Name of Detainee: § John T. Earnest MAY 3 @ 7019

Detained at (custodian): Attention: Warden, San Diego County Jail
1173 Front Street, San Diego, CA 92101 4 a OE COURT.
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_ SOUTHERN DISTRIC OEPUT

 

 

 

 

 

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Detainee is: a.) | (v¥) charged in this district by: av
: () Indictment ( ) Information CG) Complaint
Charging Detainee With: 18: U.S.C. §§ 247 and 249

or b.) () a witness not otherwise available by ordinary process of the Court
Detainee will: a.) (v return to the custody of detaining facility upon termination of proceedings
or b.} () be retained in federal custody until final disposition of federal charges, as a sentence

is currently being served at the detaining facility.

Appearance is necessary for Arraignment on Tuesday, May 28,2019, at 1:30 p.m, in the courtroom before Judge
Michael S. Berg, United States Courthouse, 221 West Broadway San Diego, CA 92101.
| hereby attest and certifyon_ 5/93/14

That the foregoing document is a full, true and correct
copy of the originalon-filein-my-office amctin my tegar

 

 

     
   

 

 

cuetedy-~ __ GRERK, U.S. DISTRICT COURT 619-546-6981; Shane.Harrigan@usdoj.gov
E TRIGT.OF CALIFORN: A Attorney of Record for: United States of America
, WRIT OF HABEAS CORPUS
By “() Ad Pros um () Ad Testificandum
“The above application is granted and the above-named custodian, as well as the United States Marshal for this

   

district, is hereby ORDERED to produce the named detainee, on the date and time recited-abeve, and any further
proceedings to be had in this cause, and at the conclusion of said proceedings risa
named custodian.

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Please provide the following, if known: /
AKA(s) (if applicable): John T. Earnest Male @ Female F771
Booking or Fed. Reg. #: 1972657 DOB: 06/08/1999
Facility Address: San Diego County Central Jail Race:
| FBI #:
Facility Phone: (619) 610-1647

 

Currently Incarcerated For:
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Executed on <I ZEy va RETURN OF SERVICE
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